    Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 1 of 15 PageID #:353




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                                 No. 12 CR 577
       v.
                                                 Judge Joan Humphrey Lefkow
GUAN YING LI


               GOVERNMENT’S SENTENCING MEMORANDUM

       The UNITED STATES OF AMERICA, through JOEL R. LEVIN, Acting

United States Attorney for the Northern District of Illinois, respectfully submits its

Sentencing Memorandum for defendant Guan Ying Li. 1

       Summary

       Defendant, at the time a 45-year-old sophisticated Chinese businessperson

with a degree from the University of North Carolina-Charlotte, brokered deals to

provide sophisticated military equipment to Shining Path knowing that the

equipment was to be used to kill Peruvian and US Government personnel. R. 2; R. 64

at 3-6; PSR 14-15. Although defendant sold the equipment to an undercover agent

and not terrorists, such luck does not mitigate defendant’s desires, abilities, or efforts

to facilitate murder and terrorism.

       Defendant acquired and sold the undercover agent five thermal batteries

designed for use in the Hon Ying-5 (H-5) surface-to-air-, man-portable, air-defense



1 The Presentence Investigation Report is cited as “PSR,” the Government’s Version is cited
as “GV,” and defendant’s sentencing memorandum is cited as “Br.” Other docket entries are
cited as “R.” followed by the docket number. Each of these abbreviations are followed by the
page number unless otherwise noted.
     Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 2 of 15 PageID #:354




weapon system (known as “MANPAD”) for the purpose of allowing Shining Path to

shoot down helicopters, including helicopters carrying U.S. personnel. 2 R. 64 at 2-6;

R. 2 at ¶ 29, 39, 40. Defendant also sold eight PLA3 Type 99 Paratrooper Assault

Harnesses, eight PLA 65 Paratrooper Backpacks, eight PLA WJQ-308 shovels, two

PLA TBR-115 VHF radios, and four SHR-PLV200 portable infrared night-vision

systems. R. 64 at 2-6.

         Defendant’s willingness to facilitate, without hesitation, the murder of

Peruvian and American personnel, all for personal profit, combined with the need to

deter him and others like him, warrants a lengthy sentence under 18 U.S.C. § 3553(a).

The safety of our nation’s soldiers and government personnel, wherever stationed, as

well as those of our international partners, requires the dismantling of the

international black market for deadly military weapons, which cannot be

accomplished without severe sentences for defendants and others like him.

         But for defendant’s acceptance of responsibility and cooperation, defendant

faced a mandatory minimum sentence of 25 years’ imprisonment. Defendant’s

cooperation provided substantial assistance to the government. His cooperation

included providing numerous proffers and grand jury testimony. As a result of his

cooperation, and in consideration of the defendant’s history and characteristics of the

defendant, the seriousness of the offense, the nature and circumstances of the offense,



2The HN-5 weapons system is an anti-aircraft missile launcher capable of making tail-on
engagements against jet aircraft or head-on engagements against propeller-driven aircraft
and helicopters under visual aiming conditions. R. 2 at 4; R. 64 at 5; see also GV at 7-9.
3   “PLA” is an abbreviation for China’s People’s Liberation Army.


                                               2
   Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 3 of 15 PageID #:355




specific and general deterrence, and just punishment, the government recommends a

sentence of 180 months’ imprisonment.

       Procedural History

                Criminal Complaint

       On July 27, 2012, the government charged defendant through a two-count

criminal complaint alleging that he attempted to provide material support or

resources to a foreign terrorist organization, namely Shining Path (Count One), and

he knowingly acquired, transferred, and exported parts designated for use in

assembling and fabricating an anti-aircraft missile system (Count Two), violations of

Title 18, United States Code, Section 2339B(a)(1) and 2332g(a)(1)(C), respectively.

R. 2. The complaint provides numerous examples of defendants’ remarkable candor

with the undercover agent regarding his access to the technology, his knowledge (and

lack of concern) that the equipment would be used to kill Peruvian and U.S. personnel

and support terrorism, his interest in expanding his market, his ability to obtain non-

traceable military equipment, and his recommendations for the purported end-user

to be more operationally savvy to avoid detection from “their opponent.” See e.g. R. 2

at ¶¶ 17, 20, 21, 22, 23, 29, 32, 34, 36, 37, 38, 40, 41, 46, 51, 53, 56, 57, 59, 65, 66, 68;

R. 64 at 2-6.

                Information

       On July 31, 2013, the U.S. Attorney filed a one-count information charging

defendant with knowingly attempting to provide material support and resources to

Shining Path, in violation of Title 18, United States Code, Section 2339B(a)(1). R. 46.




                                             3
     Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 4 of 15 PageID #:356




                Guilty Plea

         On April 23, 2014, defendant pleaded guilty to Count One of the Information.

R. 64. Pursuant to the plea agreement, defendant stipulated to the conduct charged

as Count Two of the criminal complaint, specifically, knowingly acquiring,

transferring, directly and indirectly, and exported parts designed for use in

assembling and fabricating an anti-aircraft missile system, namely five thermal

batteries, in violation of Title 18, United States Code, Section 2332g(a)(1)(C). R. 64 at

4-6. Had defendant been convicted of this stipulated offense, defendant would have

been subject to a 25-year mandatory minimum sentence. 18 U.S.C. § 2332g(c)(1).

         As part of his plea agreement, defendant agreed to cooperate. R. 64 at 11.

Defendant has met his cooperation obligations, and as a result, the government has

agreed to recommend a sentence of 180 months’ imprisonment. Id.

         Maximum Potential Sentence

         As a result of defendant’s conviction on Count One, a violation of Title 18,

United States Code, Section 2339B(a)(1), he faces a maximum sentence of 180

months’ imprisonment. PSR 21. 4 Defendant also faces a potential fine of not more

than $250,000, and a term of supervised release of any term of years, including life.

18 U.S.C. §§ 3571(b), 3583(j) and 2332b(g)(5)(B). PSR 21-22. 5




4   Section 2339B has since been amended. The statutory maximum sentence is now 20 years.
5 According to the PSR, defendant is only eligible for a maximum three-year term of
supervised release. PSR 21-22. Pursuant to Title 18, United States Code, Sections 3583(j)
and 2332b(g)(5)(B), the government disagrees with the PSR in paragraph 86.


                                             4
     Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 5 of 15 PageID #:357




         Sentencing Guidelines: Offense Level Calculation

         The November 2016 edition of the Guidelines Manual governs the calculation

of the advisory Guidelines range. R. 64 at 7-11; PSR 10-13. 6 Defendant does not

challenge Probation’s calculation of the advisory Guideline range.

         In accordance with Guideline §1B1.2(c), defendant’s stipulated offense is

treated as if he was convicted of the offense. PSR 10. Pursuant to Guideline §3D1.2(b),

Count One and the stipulated offense group. PSR 11. Pursuant to Guideline

§3D1.3(a), the offense level to be used is the highest offense level in the Group. PSR

11. The following charts summarize the government’s calculation of the applicable

offense levels of the Group:

                   Offense of Conviction – Guideline Section 2M5.3

     U.S.S.G. §                            Summary                           Assigned
                                                                              Level
    §2M5.3(a)      Base Offense Level                                           26
    §2M5.3(b)      Offense involved provision of material support with the      +2
                   intent, knowledge, or reason to believe it was to be used
                   to commit or assist in the commission of a violent act
    §3A1.4(a)      Terrorism enhancement                                       +12
    §3E1.1(a), (b) Acceptance of responsibility                                 -3
                                                                      Total     37

                    Stipulated Offense – Guideline Section 2K2.1

      U.S.S.G. §                          Description                    Assigned
                                                                          Level
    §2K2.1(a)(5)     Base Offense Level - the offense involved a firearm
                                        7                                   18
                     described in 26 U.S.C. § 5845(a)


6The PSR was prepared on February 20, 2015, prior to the effective date of the November
2016 Guidelines Manual.
7 The government incorrectly listed the base offense level for the stipulated offense in the
plea agreement (R. 64 at 8) and the Government’s Version (GV 6) as 12. The government’s
calculation and Probation’s calculation also differ in the application of Guideline § 2K2(b)(1)


                                              5
      Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 6 of 15 PageID #:358




    §2K2.1(b)(3)(A)   Destructive device that is a portable rocket, a missile       +15
    §2K2.1(b)(4)(B)   Altered or obliterated serial number                          +4
    §2K2.1(b)(5)      Trafficking                                                   +4
    §2K2.1(b)(6)      Possessed or transferred any firearm with knowledge,          +4
                      intent or reason to believe that it would be used or
                      possessed in connection with another felony offense
    §3A1.4(a)         Terrorism enhancement                                         +12
    §3E1.1(a), (b)    Acceptance of responsibility                                   -3
                                                                       Total         54
                                                                        Net         43 8

         Sentencing Guidelines: Criminal History Category

         Although defendant has zero criminal history points, pursuant to Guideline

§ 3A1.4(b), because defendant’s conviction was a felony and he intended to promote a

federal crime of terrorism, defendant shall be treated as a criminal history category

VI. PSR 14. 9

         Sentencing Guidelines: Advisory Guidelines Range

         Because defendant’s net offense level is 43, and he qualifies as a Criminal

History Category VI, his advisory Guidelines range is life. However, because the

statutory maximum term of imprisonment is 180 months, defendant’s advisory

Guideline range becomes 180 months, pursuant to Guideline § 5G1.1(a).



(the number of firearms). Because the offense level exceeds the statutory maximum sentence
and the highest offense level, these issues are moot. Defendant did not contest these issues.
8 Pursuant to Guideline Chapter 5, Part A(comment n.2), “[a]n offense level of more than 43
is to be treated as an offense level of 43.”
9 If defendant was treated as having a Criminal History Category I, his advisory guideline
range would still be life (offense level 43), which would then be reduced to an advisory
Guideline sentence of 180 months’ imprisonment because of the statutory maximum
sentence. See Guideline §5G1.1(a). Moreover, even ignoring defendant’s stipulated offense
conduct and ignoring his status as a criminal history category VI, defendant’s advisory
Guideline range still would be 210 to 260 months’ imprisonment (offense level 37 for Count
One), again reduced to 180 months’ imprisonment because of the statutory maximum
sentence.


                                              6
   Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 7 of 15 PageID #:359




      Sentencing Analysis in Accordance with Section 3553(a)

      As set out in Title 18, United States Code, Section 3553(a), the Court must

consider several factors in determining the sentence, including but not limited to the

history and characteristics of Li, the nature and circumstances of the offense, and the

need for the sentence imposed to reflect the seriousness of the offense, provide

adequate deterrence, protect the public, and to provide just punishment.

      Before addressing the Section 3553 factors, the government first responds to

defendant’s arguments that the government engaged in sentencing entrapment and

that he deserves a downward departure for aberrant behavior.

             The Government Did Not Engage in Sentencing Entrapment or
             Manipulation and Defendant Merits No Relief Based on the
             Investigation

      To support his claims of sentencing entrapment, defendant primarily relies on

Guideline § 5K2.12 and United States v. Turner, 569 F.3d 637 (7th Cir. 2009).

Defendant’s arguments on sentencing entrapment appear to confuse sentencing

entrapment and sentencing manipulation. Neither are applicable in defendant’s

situation nor are they even remotely supported by the record.

       In Turner, the Seventh Circuit re-affirmed its position that the Seventh

Circuit “does not recognize the sentencing manipulation doctrine.” Turner, 569 F.3d

at 641. In rejecting a sentencing manipulation claim the Seventh Circuit noted it

defers to the discretion of law enforcement:

      We will defer to the discretion of law enforcement to conduct its
      investigations as it deems necessary for any number of reasons,
      including, for example, to ensure that there is sufficient evidence to
      obtain a conviction, to obtain a ‘greater understanding of the nature of
      the criminal enterprise,’ and to ensnare coconspirators.


                                          7
   Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 8 of 15 PageID #:360




Id., quoting United States v. Garcia, 79 F.3d 74, 76 (7th Cir. 1996)

      The Seventh Circuit in Turner also rejected a finding of sentencing entrapment

and held that “[t]o succeed on such a claim . . . a defendant must pass a high bar . . .

[he] must show (1) that he lacked a predisposition to commit the crime, and (2) that

his will was overcome by ‘unrelenting government persistence.’” Id., quoting United

States v. Gutierrez-Herrera, 293 F.3d 373, 377 (7th Cir. 2002).

      Pursuant to Guideline § 5K2.12, a defendant may be eligible for a downward

departure,”[i]f the defendant committed the offense because of serious coercion,

blackmail or duress, under circumstances not amounting to a complete defense.”

According to § 5K2.12, “[o]rdinarily coercion will be sufficiently serious to warrant a

departure only when it involves a threat of physical injury, substantial damage to

property or similar injury resulting from unlawful action of a third party or from a

natural emergency.”

      In short, defendant’s citation to Guideline § 5K2.12 and Turner is unsupported

by defendant’s own claims or the record before the Court. Defendant has not offered

any evidence that establishes that the government acted aggressively (let alone too

aggressively) or inappropriately in any way, that the defendant “lacked a

predisposition to commit the crime,” or that the government engaged in “unrelenting

government persistence.” Defendant offers no evidence that supports a conclusion

that the government should be deterred from engaging in these investigation

techniques in the future by awarding the defendant a sentence lower than otherwise

warranted.




                                           8
      Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 9 of 15 PageID #:361




         Further, defendant ignores the fact that it was his company, Northwest

Technology Company, 10 which initiated contact with the undercover agent in an effort

to purchase gyroscopes. R. 2 at ¶¶ 5, 8. Defendant also fails to acknowledge that the

conversation regarding the purchase of the MANPAD batteries started with

Individual A and not the defendant, and it was the defendant who got involved with

the undercover agent on his own and not at the behest of the government. Id.at ¶¶ 9,

10, 11.

         The subsequent negotiations between the defendant and the undercover agent

occurred over a lengthy period of time, primarily by email (and from thousands of

miles apart), during which time defendant had numerous opportunities to back out

of the deal after learning of the end-user and its intended use of the sophisticated

military components that he could acquire. R. 2; R. 64 at 2-6. Defendant points to no

evidence of pressure, duress, or unusual benefit that influenced defendant. There is

no evidence that the government exploited the defendant in any way or engaged in

any misconduct that requires an otherwise lower-than-necessary sentence.

         Simply, the record establishes that the defendant sought to profiteer from his

access to sophisticated Chinese military equipment knowing that his effort would be

used to murder and support terrorism. See R. 2 and R. 64 at 3, 5. For example, after

being told the end-user intended to carry out “operations/attacks against the

Peruvian and US military personnel” and that the end-user user had “shot down a

Peruvian helicopter,” defendant responded in-part:


10   See PSR at ¶20.


                                            9
  Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 10 of 15 PageID #:362




      This meeting with your customer proved to be useful. Since after this
      meeting, we will have a better insight about their operation and so we
      can come up with better idea on the selection of the right equipment for
      them. I will have a more detail discussion with a PLA military company
      about the selection of suitable equipment. . . . For the end-user
      operation. I guess they shot down the helicopter by HN-5B or some other
      multiple rocket launcher. So, we can think of some equipment to target
      helicopter as well.

R. 2 at ¶ 29. Defendant was not someone who lacked predisposition or was a “low-

level intermediary” merely arranging sales of equipment. The government should and

must seek out international businesspersons who are willing to facilitate terrorist

organizations or other rogue actors who seek deadly technology. Lengthy sentences

are necessary to disrupt illicit trade practices and disincentivize businesspersons,

like the defendant, who are willing deal with rogue actors and subvert U.S. and

international law, especially when they know the products are destined to be used to

murder and to attack the United States or its allies.

             Defendant’s Offense Conduct Does Not Constitute Aberrant
             Behavior

      Defendant also seeks a downward departure for aberrant behavior pursuant

to Guideline § 5K2.20. Br. 8. To qualify for the aberrant behavior departure, the

defendant must have “committed a single criminal occurrence or single criminal

transaction that (1) was committed without significant planning; (2) was of limited

duration; and (3) represents a marked deviation by the defendant from an otherwise

law-abiding life.” As described in detail in the complaint, the factual basis of the plea

agreement, the Government’s Version, and the PSR, defendant does not qualify for

the aberrant behavior departure for several reasons.

      First, defendant’s offense conduct was not limited to a single criminal


                                           10
  Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 11 of 15 PageID #:363




occurrence. See R. 64 at 2-6, R. 2. Rather, with the understanding that the following

items would be used by Shining Path to murder, defendant procured and arranged

five separate shipments of: (1) the five thermal batteries for the MANPAD system;

(2) eight PLA Type 99 Paratrooper Assault Harnesses; (3) eight PLA 65 Paratrooper

Backpacks; (4) eight PLA WJQ-308 shovels; (5) two PLA TBR-115 VHF radios; and

(6) four SHR-PLV200 portable infrared night-vision systems. R. 64 at 3-6.

      Second, defendant’s offense conduct involved significant planning in that he

procured and trafficked internationally in the above-referenced items knowing that

they were for the benefit of terrorists. R. 2; R. 64 at 3-6. Moreover, defendant also

took measures to evade law enforcement. See e.g. R. 2 at ¶¶ 12, 24, 25, 46.

      Third, defendant’s offense conduct took place over the course of a year.

      Fourth, while defendant lacks any prior convictions, defendant did not have an

otherwise law-abiding life. For example, as discussed in paragraph 37 of the

complaint, defendant, knowing the end user was a foreign terrorist organization,

emailed the undercover and offered access to anti-tank rockets in case the

undercover’s purported client needed to target tanks or armored vehicles:

      For the end-user operation, they might need to target tank or fleet of
      armored vehicle. The equipment is
      -portable anti-tank
      -anti-armored vehicle.
      Please discuss with the enduser and check which one is useful. . . If the
      customer need more of this anti-tank equipment, we might focus to
      export more of this equipment.

R. 2. at ¶ 37. Offering assistance with targeting tanks and armored vehicles outside

of international and U.S. law is not an otherwise law-abiding life. See also R. 2 at




                                         11
     Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 12 of 15 PageID #:364




¶ 56 (“Throughout the remainder of 2011 and continuing to in or around July 2021,

Li and the UC continued to communicate about thermal batteries, as well as other

equipment, including RPG 11 launchers, automatic grenade launchers, 35 mm

ammunition, the QW-1 MANPAD system, and two different types of armor-piercing

ammunition”).

         Defendant even concedes (through remarkably minimized) that he did not lead

an otherwise law-abiding life: “Mr. Li was already engaged in the business of

brokering deals for various equipment, a small portion of which may have been in

violation of other nations’ laws” and “[y]es, he was willing to sell products that might

be illegal in certain nations.” Br. 5, 7.

                History and Characteristics of the Defendant

         Defendant’s sentence should reflect his history and characteristics, both as

they aggravate and mitigate his offense conduct. In mitigation, this Court should

consider defendant’s acceptance of responsibility and his cooperation. His cooperation

was important, timely, and productive. His cooperation assisted in the prosecution of

three other defendants for crimes including conspiracy and violations of the

International Emergency Economic Powers Act. His cooperation also assisted in the

investigation of another individual.

         In aggravation, this Court should consider his lack of respect for life and

international law, and his willingness to support terrorism simply for his pecuniary

benefit. See e.g. R. 2; R. 64 at 3-6.


11   RPG is an abbreviation for a rocket-propelled grenade.


                                               12
  Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 13 of 15 PageID #:365




               Seriousness of the Offense and Nature and Circumstances of the
               Offense

      The circumstances and seriousness of the offense are evident from the

complaint and the factual basis of the plea. R. 2 and R. 64 at 3-6. Defendant was in

the business of helping others obtain illegal military equipment on the international

black market, a business that obviously and inevitably leads to deaths of innocent

civilians and members of the military.          Defendant’s conduct in this case was

consistent with his willingness to facilitate killing and the destabilization of

governments, all for some quick profit.         The Court need look no further than

defendant’s own statements to assess the seriousness of his conduct and his

callousness.

      Although defendant was not successful in delivering sophisticated military

equipment to a terrorist organization, it was not for his lack of effort, desire, and

abilities. For example, on or about June 8, 2011, after being told “the end user spoke

in general for their need to defeat and destroy the local Peruvian and US forces

operating in their area . . . I know that there are some US military helicopters/aircraft

in Peru staffed with US military advisors,” defendant responded:

      It was good to know that we just find the equipment just right on time,
      then we can provide the whole package to the end-user. You are right,
      we will need to ‘educate’ the end-user on what type of equipment for
      them. . . .pls recommend below system . . . this system can also target
      armed helicopter, so should be good for them.

R. 2 at ¶¶39, 40.




                                           13
  Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 14 of 15 PageID #:366




      Defendant even proactively marketed his ability to obtain equipment, namely

thermal imaging equipment for Shining Path, which would “enhance [Shining Path’s]

mobility in day or night:”

      [W]e propose to promote the Thermal Imager in South American
      market, since we are associated with several major China Thermal
      Imager producer, we have team up with some supplier in China and
      successfully penetrate the market in other region of the World. I believe
      your customer [Shining Path] will be interested in such equipment,
      since they will have a lot of activities in the tropical jungle area. This
      item will enhance their mobility in day or night. . . .

R. 2 at 65.

              Providing Adequate Deterrence and Just Punishment

      A lengthy term of imprisonment is necessary in order to provide adequate

general and specific deterrence, and to reach a just punishment. The government

recommends a sentence of 180 months’ imprisonment (following cooperation and

acceptance of responsibility) to deter international businesspersons from doing

business with terrorists and hostile regimes subject to U.S. and international

sanctions, particularly when, as here, those businesspersons know that they are

facilitating murder.

      Lengthy sentences, even in sting cases when the defendant’s intent is not

fulfilled, increase the cost of doing business with prohibited persons and entities.

Sentences such as 180 months’ imprisonment for arms traffickers will chill the

market and make it more difficult for rogue states and actors to obtain the equipment

they need to kill innocents and strike government institutions.

      Moreover, a lengthy sentence is necessary to achieve just punishment.

Defendant had no reservations about facilitating terrorism in exchange for profit. A


                                         14
  Case: 1:12-cr-00577 Document #: 113 Filed: 05/10/17 Page 15 of 15 PageID #:367




sentence of 180 months’ imprisonment will discourage those like defendant from

attempting similar transactions and it will prevent him from returning to arms

trafficking upon his release. If defendant is released upon sentencing, or even shortly

thereafter, he will return to China at a relatively young age with no restrictions on

his ability to reengage in arms trafficking, except that he will be empowered by the

lessons he learned from being caught. Defendant offers no reason to believe he will

refrain from returning to the business he knows.

      Supervised Release

      The government agrees with Probation’s proposed terms of Supervised Release

as suggested in the Supplemental Report dated June 30, 2015.

      Conclusion

      Accordingly, the government respectfully requests that this Court impose a

sentence of 180 months’ imprisonment followed by 10 years of supervised release.

                                               Respectfully submitted,
                                               JOEL R. LEVIN
                                               Acting United States Attorney

                                        By:     s/ Matt Hiller
                                               R. MATTHEW HILLER
                                               Assistant United States Attorney
                                               219 S. Dearborn Street
                                               Chicago, Illinois 60604
                                               (312) 697–4088




                                          15
